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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
  ____________________________________
                                       :
  ROY HOROWITZ, LINDA LARSON,          :
  KEMPTEN POLLARD, KATHERINE           :
  SEAMAN, and KATHLEEN SWEENEY, :
                                       : Civil Action No. 3:17-cv-4827-BRM-LHG
                    Plaintiffs,        :
        v.                             :
                                       :                 ORDER
  AT&T INC., AT&T CORP.,               :
  AT&T SERVICES, INC., and             :
  AT&T MOBILITY SERVICES LLC,          :
                                       :
                    Defendants.        :
  ____________________________________:

            THIS MATTER is opened to the Court by: (1) AT&T, Inc.’s (“INC”) Motion to Dismiss

  against Roy Horowitz (“Horowitz”), Linda Larson (“Larson”), Kempton Pollard (“Pollard”),

  Katherine Seaman (“Seaman”), and Kathleen Sweeney (“Sweeney,” collectively “Plaintiffs”) for

  lack of jurisdiction (ECF No. 21); (2) AT&T Services, Inc. (“SERVICES”) and AT&T Mobility

  Services, LLC’s (“MOBILITY”) Motion to Dismiss Larson and Pollard’s claims for lack of

  jurisdiction (ECF No. 23); and (3) AT&T Corp. (“CORP”), SERVICES, and MOBILITY’S

  Motion to Dismiss for failure to state a claim (ECF No. 22). Plaintiffs oppose all motions. (ECF

  Nos. 41, 42, and 43.) Pursuant to Federal Rule of Civil Procedure 78(a), the Court heard oral

  argument on April 10, 2018. The Court having reviewed the parties’ submissions, for the reasons

  set forth in the accompanying Opinion, and for good cause shown,

            IT IS on this 25th day of April 2018,

            ORDERED that INC’s Motion to Dismiss for lack of jurisdiction is DENIED; and it is

  further
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         ORDERED that SERVICES and MOBILITY’s Motion to Dismiss Larson and

  Pollard’s claims for lack of jurisdiction is GRANTED; and it is further

         ORDERED that CORP, SERVICES, and MOBILITY’s Motion to Dismiss for failure

  to state a claim is DENIED as to the class action claims and GRANTED as to all other requests.



                                                             /s/ Brian R. Martinotti___________
                                                             HON. BRIAN R. MARTINOTTI
                                                             UNITED STATES DISTRICT JUDGE




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